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Tim Burklew

Anna Burklew
Mailing address
18900 NE 3 Ct. 509
Miami Florida 33179

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

Tim Burklew Case No:
and

Anna Burklew

Florida residents,

Plaintiffs

BMB Matrix LLC
A Delaware Corporation

Defendant
if
COMPLAINT

The Plaintiffs Tim Burklew and Anna Burklew, (hereinafter the “Plaintiffs”) hereby
files this Complaint against the Defendant BMB Matrix LLC, a Company incorporated

under the laws of Delaware, having its principal place of business located atl1617 JFK
Blvd 20th Floor Philadelphia, PA 19103 (hereinafter the “Defendant”) and further state
as follows:
JURISDICTION AND VENUE
1. Jurisdiction is proper in this case as the US District Courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum

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or value of $75,000, exclusive of interest and costs, and is between citizens of
different States. Jurisdiction is therefore proper under 28 U.S.C. § 1332.

- Venue is proper in this District pursuant to 15 U.S.C. §§ 15(a), 22 and 28 U.S.C.
§§ 1391(b), (c), and (d) because, during the relevant period, Defendants resided,
transacted business, were found, or had agents in this District.

. This Court has in personam jurisdiction over Defendants because the Defendant

resides and transacts business in this District.
THE PARTIES

The Plaintiffs
4. The Plaintiffs Tim Burklew and Anna Burklew are both Florida residents who owned

online stores with both Ebay and Etsy. The Plaintiffs contracted the online services of
the Defendant BMB Matrix LLC for the purposes of boosting online sales with both
Ebay and Etsy respectively.

The Defendant
5. The Defendant BMB Matrix LLC holds itself out to be an industry leader in turnkey e-

commerce store building and delivery. The Company claims entrepreneurs from all walks of
life turn their dreams into reality. Our turnkey stores allow you to sell anything in the world
almost immediately. We allow you to gain your freedom from the regular 9-5 job. Removing
barriers to online commerce helps start more new businesses, accelerates the growth of
existing businesses, and increases economic output and global trade.
STATEMENT Of THE FACTS

. On or about August 15 2023, the Defendant BMB Matrix LLC presented a written contract
to the Plaintiffs (hereto attached as Exhibit A)
. The contract provided for the Defendant rendering services in the form of the Defendant
facilitating an online store for Plaintiff through third party EBay and which agreement also
guaranteed to generate profits for the Plaintiffs online business.
. Particularly the Plaintiffs signed up for the Defendant’s Standard eBay package which
entailed the Defendant supplying the client with products across all platforms included in the
package. The package includes the following business build-out:

(i) Marketplace buildouts (100 products)

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(ii) | eBay United States
(iii) | Etsy United States
(iv) Guaranteed 30% Profit Margin

in sum, the Defendants guaranteed the Plaintiffs 100 items in its online store plus 100 items

in an Etsy store

The Plaintiffs, upon accepting the Defendant’s proposal conveyed to the Defendants the sum

of $9,995 for the services promised to Plaintiffs in the Defendant’s Agreement for services.

The Plaintiffs state that after receiving the contract sum of $9995.00, the Defendant never
brought in more than 44 items for the EBay store, and the Plaintiffs Etsy store never even
received a single item, out of the 100 items which the Defendant had promised.

Plaintiffs state that in light of the foregoing lack of Service by the Defendant, EBay then
suspended Plaintiff's store services because of there being too many complaints on how it
was managed.

Plaintiffs state that in the Defendant’s contract for services they also provided a guarantee

that if they [the Defendant] did not make $9,995.00 in profits by the end of the year, the

Plaintiffs would receive a refund of the difference between the $9,995.00 and what the
Plaintiffs made, which was essentially $0.
Plaintiffs in light of the foregoing seek damages in the amount of $9,995.00 and as for
causes of action, further states as follows:
PLAINTIFF’S FIRST CAUSE OF ACTION
Breach of Contract

Plaintiffs restate the facts and allegations in the preceding paragraphs and further allege as
follows:
In Pennsylvania, a contract is an agreement between two or more parties that is enforceable
by law. Contracts can be made orally or in writing, but certain types of contracts must be in
writing to be enforceable.
To be enforceable, a contract should have the following elements, to wit:

Offer: One party must make an offer to the other party.

Acceptance: The other party must accept the offer.

Consideration: Each party must give something of value to the other party.

Mutual assent: Both parties must agree to the terms of the contract. In

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addition to these elements, certain types of contracts must be in writing to enforceable.
These include contracts for the sale of real estate, contracts for the sale of goods for $500
or more, and contracts that cannot be performed within one year. If one party breaches a
contract, the other party may be able to sue for damages. Damages are intended to
compensate the non-breaching party for their losses. The amount of damages that can be
awarded will depend on the specific facts of the case.

Plaintiffs asserts that a valid contract existed between the Plaintiffs, and the Defendant BMB

Matrix to provide services to the Plaintiffs benefit, in exchange for the Plaintiffs rendering

$9,995.

Plaintiffs assert further that the Defendants BMB Matrix failed to provide the Services as

described in the Defendant’s service agreement dated August 15, 2023, which is hereto

attached as Exhibit A.

. In light of the foregoing, the Plaintiffs claim damages for breach of contract in the total amount

of $9,995
SECOND CAUSE OF ACTION

INTENTIONAL INTERFERENCE WITH CONTRACT RELATIONS
Plaintiffs restate the facts and allegations in the preceding paragraphs and further allege as
follows:
In the State of Pennsylvania, Intentional interference with contractual relations requires the
following elements: “(1) the existence of a contractual relationship; (2) an intent on the part
of the defendant to harm the plaintiff by interfering with that contractual relationship; (3) the
absence of a privilege or justification for such interference; and (4) damages resulting from
the defendant's conduct.” Hennessy v. Santiago, 708 A.2d 1269, 1278 (Pa. Super. Ct. 1998)
(citing Triffin v. Janssen, 626 A.2d 571, 574 (1993)). A fundamental requirement of
interference with contractual relations is the existence of a contract between the plaintiff and
a third party. E.g., Nix v, Temple Univ. Of Commw. Sys. Of Higher Educ., 596 A.2d 1132,
1137 (Pa. Super. Ct. 1991) (“The tort of interference with contract is defined in terms of
unprivileged interference with a contract with a third party. Essential to the right of recovery
on this theory is the existence of a contractual relationship between plaintiff and a party
other than the defendant.”); Glenn v. Point Park Coll., 272 A.2d 895, 898 (Pa. 1971); see
generally RESTATEMENT (SECOND) OF TORTS § 766.

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23. Plaintiffs argue that

(i)
(ii)

(iii)
(iv)

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(IN)

There was the existence of a contractual relationship between the Plaintiffs and
with Ebay and Etsy respectively, prior to the Defendant BMB Matrix LLC
offering to boost Plaintiff's sales.
There was an intent on the part of the defendant BMB Matrix to harm the
plaintiffs by interfering with that contractual relationship between Plaintiff and
EBay and Etsy respectively. This is evident by the Defendant BMB Matrix’s
course of conduct in not delivering to Plaintiffs expectations, with the Defendants
knowing fully well that EBay closes accounts of individuals for lack of sales
activity.
Plaintiffs state that there was no justification for the Defendant BMB Matrix’s
conduct.
Plaintiffs suffered damages in the amount of $9,995 in losses including of
$70,000 in lost projected online sales and further income between the months of
August to the present.

RELIEF SOUGHT

WHEREFORE, the Plaintiffs, Tim and Anna Burklew hereby request that the Court

grants the following relief, to wit:

Damages for Breach of Contract in the amount of $10,000.
Damages for the Defendant’s tortious interference with the Plaintiff's Contract
Relations with EBay and Etsy in the amount of $70,000.

Costs of suit.

Any further damages that this Court is willing to allow.

Plaintiffs further seek a jury trial on all triable issues.
Respectfully Submitted

s/ Tim Burklew

Tim Burklew

Plaintiff, pro se

i, 7
s/ Anna Burklew ( Mw

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Anna Burklew
Plaintiff, pro se

Dated December 1 2023

Filed 12/18/23

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Tim Burklew

Plaintiff, pro se

Anna Burklew
Plaintiff, pro se

Mailing address
18900 NE 3% Ct 509
Miami FL 33179

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" s/ Anna Burklew ae

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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor aeplsoee the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the-civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a) PLAINTIFFS DEFENDANTS Pinte WaT ease LILA
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I ae eee : ; FHILADELCHTA 5 | A

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(b) County of Residence of First Listed Plaintiff | JO T-/A\| = "County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (0 : (IN U.S. PLAINTIFF CASES ONLY)

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‘ NOTE: IN LAND CP OF LMNATION CASES, USE THE LOCATION OF

Attorneys (If Known)

JS 44 (Rev. 10/20) FLSD Revised 02/12/2021

(c) Attorneys (Firm Name, Address, and Telephone Number)

(d) Check County Where Action Arose: [] MIAMI-DADE [J] Monroz 1] BROWARD [JPALMBEACH [IMARTIN DIST.LUCIE CUINDIANRIVER CIOKEECHOREE [ HIGHLANDS

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) Oi. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X” in One Box for Plaintifp)

(For Diversity Cases Oniy) and One Box for Defendant)

OJ 1 US. Govemment 03 Federal Question D PIF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State O11 1 Incorporated or Principal Place O4 a
of Business In This State

0 2 US. Government 4 Diversity Citizen of Another State 2 (J 2 Incorporated and Principal Place Els fs

Defendant (Indicate Citizenship of Parties in Item iil) , of Business In Another State
Citizen or Subject of a O3 J 3. Foreign Nation O¢6« 6
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IV. NATURE OF SUIT (Place an "X” in One Box Only) Click here for: Nature of Suit Code Descriptions /

5 CONTRACT TORTS . FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
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(1120 Marine (310 Airplane 365 Personal Injury - of Property 21 USC 881 [] 423 Withdrawal 0 376 Qui Tam (31 USC
(1130 Miller Act [1315 Airplane Product Product Liability [1] 690 Other 28 USC 157 3729 (a))

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& Enforcement of Judgment Slander Personal Injury (1 820 Copyrights ) 430 Banks and Banking
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FE Other Contract Product Liability (1 380 Other Personal (2) 740 Railway Labor Act C0 864 SSID Title XVI Exchange
195 Contract Product Liability [1] 360 Other Personal Property Damage § [) 751 Family and Medical C 865 RSI (405(g)) (1 890 Other Statutory Actions
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290 All Other Real Property Employment 535 Death Penalty (CO 462 Naturalization Application
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Other 550 Civil Rights Actions
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VI. RELATED/ (See instructions): a) Re-filed Case OQYES {NO b) Related Cases YES pf{NO
RE-FILED CASE(S) JUDGE: DOCKET NUMBER:

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION ~
LENGTH OF TRIAL via _2— days estimated (for both sides to try entire case)
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VII REQUESTED IN

CHECK IF THIS IS A CLASS ACTION i ‘ eg,
COMPLAINT: oO UNDER FRCP. 23 DEMAND $ of 9 wee CHECK YES only if demanded in complaint:
/ JURY DEMAND: Yes JO No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE :
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